                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                              Plaintiff,
                                                                     Case No. 05-CR-240
               -vs-

GONZALO MEJIA,
                              Defendant.


                           ORDER FOR RELEASE ON BOND


               Before the Court is the motion of Attorney Erika L. Bierma, to release the

defendant, Gonzalo Mejia, on bond. The government does not oppose the defendant’s release

on bond with certain conditions..

               NOW, THEREFORE, BASED ON THE FOREGOING, IT IS HEREBY

ORDERED that the defendant, Gonzalo Mejia, shall be released to reside with his mother, sister

and brother at 1240 South 26th Street, Milwaukee, Wisconsin. Mr. Mejia shall be placed on

home confinement with electronic monitoring with approved leave for court appearances,

attorney visits, reporting to Pretrial services, drug screens and treatment, visits to the doctor or

treating health facility or hospital, permission to go to the hospital to visit his child and the

mother of his child, religious services, educational programming, and employment.



               Dated at Milwaukee, Wisconsin, this 23rd day of April, 2008.

                                                     SO ORDERED,


                                                     s/ Rudolph T. Randa
                                                     HON. RUDOLPH T. RANDA
                                                     Chief Judge

   Case 2:05-cr-00240-JPS         Filed 04/23/08      Page 1 of 1      Document 1206
